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                 UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF MASSACHUSETTS

IN THE MATTER OF                 )
THE EXTRADITION OF               )     Case No. 20-mj-1069-DLC
MICHAEL L. TAYLOR                )
                                 )
                                 )
IN THE MATTER OF                 )
THE EXTRADITION OF               )     Case No. 20-mj-1070-DLC
PETER M. TAYLOR                  )


    GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE
               DECLARATION OF NAOKI WATANABE
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        The United States, through Assistant United States Attorney Stephen W. Hassink, opposes

the Motion (Docket No. 25) filed by Michael Taylor and Peter Taylor to strike the Declaration of

Public Prosecutor Naoki Watanabe, Tokyo District Public Prosecutors Office (“Watanabe

Declaration”), which the government submitted as Exhibit B to its Opposition To Motion To Quash

Arrest Warrants Or For Release From Detention (“Opposition,” Docket No. 23).1

                                             ARGUMENT

        Japan, through the Watanabe Declaration, has confirmed that the Taylors’ efforts to quash the

arrest warrants that this Court properly issued are premised on a flawed interpretation of Japanese law

and a mischaracterization of the facts. See Opposition at 32-38. Contrary to the Taylors’ claims, the

Watanabe Declaration was properly submitted to rebut their arguments that were prematurely brought

at this provisional arrest stage of the proceedings. The Motion to Strike is meritless, as plainly

evidenced by the fact that it cites no extradition cases, and should be denied.

         The Supreme Court has held that in extradition proceedings “unsworn statements of absent

witnesses may be acted upon by the committing magistrate.” Collins v. Loisel, 259 U.S. 309, 317 (1922).

The Federal Rules of Evidence also explicitly state that they are not applicable to extradition

proceedings. See Fed. R. Evid. 1101(d)(3) (“These rules—except for those on privilege—do not apply

to . . . miscellaneous proceedings such as extradition or rendition.”); United States v. Kin-Hong, 110 F.3d

103, 120 (1st Cir. 1997) (the evidence at the extradition hearing “may consist of hearsay, even entirely

of hearsay”). Accordingly, courts routinely rely on submissions by the country seeking extradition

that are not sworn. See, e.g., Afanasjev v. Hurlburt, 418 F.3d 1159, 1164-65 (11th Cir. 2005) (upholding


1
 All citations to the record in this Opposition to Motion to Strike refer to the docket entries as they
appear in case number 4:20-mj-1070. All pin cites to documents in the record refer to the ECF
pagination.


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probable cause determination based on an unsworn bill of indictment prepared by a Lithuanian

investigator and noting “[f]ederal law does not require all documents submitted for extradition

purposes to be made under oath”); In re Extradition of Czerech, Case No. 19-mj-6763, 2020 WL 603998,

at *5 n.10 (D.N.J. Feb. 6, 2020) (rejecting claim that unsworn summary of facts and evidence attached

by foreign prosecutor could not support probable cause determination); In re Extradition of Jean, Case

No. 13–mj-3588, 2013 WL 4502102, at *4 n.11 (D.N.J. Aug. 22, 2013) (rejecting challenge to police

detective’s unsworn summary of facts); In re Extradition of Sainez, Case No. 07–mj–177, 2008 WL

366135, at *15 (S.D. Cal. Feb. 8, 2008) (“The Court may properly consider all of the above evidence

in its probable cause determination, whether sworn or unsworn”).

        As the First Circuit has stated, “[t]he special and limited nature of extradition hearings is

manifested in a more lenient standard for admissibility of evidence.” Kin-Hong, 110 F.3d at 120. The

overarching theme is that “[u]nique rules of wide latitude . . . govern reception of evidence in Section

3184 hearings.” Sayne v. Shipley, 418 F.2d 679, 685 (5th Cir. 1969) (internal quotation marks and

citation omitted); see also, e.g., In re Extradition of Kyung Joon Kim, No. 04-cv-3886, 2005 WL 6399831, at

*12 (C.D. Cal. Oct. 20, 2005) (“Neither statute nor the Extradition Treaty precludes the extradition

magistrate from receiving and considering evidence submitted by the government outside the formal

certification process.”); Lo Duca v. United States, No. 95-cv-713, 1995 WL 428636, at *12 (E.D.N.Y.

July 7, 1995) (collecting cases evidencing “the flexibility with which extradition proceedings are

conducted”); Matter of Extradition of Artukovic, 628 F. Supp. 1370, 1376 (C.D. Cal. 1986) (“While § 3190

makes evidence certified as admissible in the tribunals of the requesting country admissible in our




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courts, it is not true that the Government may introduce evidence only by way of such certification.”)

(emphasis in original).2

        Because a foreign country’s submissions in the extradition context are not required to be

sworn, it necessarily follows that there is no need for a foreign country to rely in this setting on the

procedures set forth under 28 U.S.C. § 1746, which serves as a substitute for sworn affidavits. See, e.g.,

Carter v. Clark, 616 F.2d 228, 230 (5th Cir. 1980) (“Section 1746 of Title 28, United States Code, was

passed in 1976 for the purpose of permitting ‘the use in Federal proceedings of unsworn declarations

given under penalty of perjury in lieu of affidavits.’”) (quoting H.R. Rep. No. 94-1616, 94th Cong., 2d

Sess. 1, reprinted in (1976) U.S. Code Cong. & Admin. News, pp. 5644, 5644). The Taylors have not

cited a single extradition case in support of their Motion to Strike, and the government is unaware of

any extradition court striking a foreign country’s submission based on 28 U.S.C. § 1746.

        Here, it would be particularly inappropriate to require that Japan comply with federal

evidentiary rules given the fact that this matter is at the provisional arrest stage. Pursuant to Article

IX of the extradition treaty between the United States and Japan (the “Treaty”),3 Japan has 45 days

from the Taylors’ arrests to submit its formal extradition request and its supporting evidence. In

advance of that Treaty deadline, Japan will submit through diplomatic channels its formal extradition

request in a manner that complies with 18 U.S.C. § 3190 and therefore “shall be received and admitted

as evidence” at the extradition hearing. See 18 U.S.C. § 3190. The fact that Japan has voluntarily



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  By contrast, a fugitive’s ability to submit evidence at an extradition hearing is limited to that which
is explanatory rather than contradictory. See, e.g., Koskotas v. Roche, 931 F.2d 169, 175 (1st Cir. 1991).
3
 See Treaty on Extradition Between the United States of America and Japan, U.S.-Japan, Mar. 26,
1980, 31 U.S.T. 892. A copy of the Treaty was attached as Exhibit A to the government’s
Opposition. See Docket No. 23-1.


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previewed components of its formal extradition request in order to respond to premature claims does

not trigger the applicability of 28 U.S.C. § 1746 or shorten the timeframe for Japan to submit its

certified requests through diplomatic channels. Instead, the Taylors’ Motion simply underscores the

premature nature of their claims.

        It also bears noting that while the Taylors seek to rely on an inapplicable statute to strike the

Watanabe Declaration, large swaths of their own motion to quash the arrest warrants contain hearsay

and lack foundation (see, e.g., Docket No. 17 at 31-39), and many their exhibits have not been properly

authenticated or would otherwise be inadmissible if the Federal Rules of Evidence applied (see, e.g.,

Docket Nos. 17-3; 17-4; 17-10).

         For the foregoing reasons, the Taylors’ Motion should be denied. However, if the Court is

inclined to grant the Motion, the government respectfully requests leave from the Court to resubmit

the Watanabe Declaration in certified form.

                                          CONCLUSION

       For the foregoing reasons, the Taylors’ Motion should be denied or, alternatively, the

government should be permitted to resubmit the Watanabe Declaration in certified form.


Date: June 18, 2020
                                                        Respectfully submitted,


                                                        ANDREW E. LELLING
                                                        United States Attorney

                                                By:     /s/ Stephen W. Hassink
                                                        STEPHEN W. HASSINK
                                                        Assistant United States Attorney

                                                        /s/ Philip A. Mirrer-Singer
                                                        Philip A. Mirrer-Singer
                                                        Trial Attorney

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                                 CERTIFICATE OF SERVICE

        I, Stephen W. Hassink, Assistant U.S. Attorney, do hereby certify that on June 18, 2020, I
served a copy of the foregoing on all registered parties by electronic filing on ECF.

                                                              /s/ Stephen W. Hassink
                                                              Stephen W. Hassink
                                                              Assistant U.S. Attorney




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